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IN THE UNITED STATES DISTRICT COURT - Ju
FOR THE WESTERN DISTRICT OF PENNSYLVANIA oO Beye 2 c
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UNITED STATES OF AMERICA ) Cisr or SPRcy oo

. ) : N Sis 4 t

Vv. ) Criminal No. wD 6 7 MA

) (18 U.S.C. §§ 2 and 241(a)(3))
ANDREW AUGUSTYNIAK-DUNCAN _) [UNDER SEAL]

INDICTMENT
COUNT ONE

The grand jury charges:

On or about May 30, 2020, in the Western District of Pennsylvania, the defendant,
ANDREW AUGUSTYNIAK-DUNCAN, did commit and attempt to commit an act to obstruct,
impede and interfere with a law enforcement officer lawfully engaged in the lawful performance

of the officer’s official duties, incident to and during the commission of a civil disorder which

 

obstructed, delayed and adversely affected commerce and the movement of articles and

commodities in commerce, to wit: the defendant, ANDREW AUGUSTYNIAK-DUNCAN, |

incident to and during the commission of a civil disorder in the vicinity of downtown Pittsburgh

and the PPG Paints Arena in the City of Pittsburgh, which disorder obstructed, delayed and
adversely affected the interstate commerce activities of nearby business establishments and the

movement of articles and commodities in commerce, did knowingly and willfully throw
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projectiles, which struck and injured several police officers, causing the obstruction, impediment
and interference of law enforcement officers engaged in the lawful performance of their official
duties.

In violation of Title 18, United States Code, Sections 2 and 231(a)(3).

 

A True Bill,
Foreperson

SCOTT W. BRADY
‘United States Attorney
PA ID No. 88352
